      Case 3:19-cr-00031-MEM Document 62 Filed 11/05/20 Page 1 of 2




             UNITED STATES DISTRICT COURT
            MIDDLE DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA             :

                 v                   :        3:CR-19-031

DENVER LEON PEARSON                  :
                                            (Judge Mannion)
                                     :
           Defendant

                                ORDER

     Presently before the court is Magistrate Judge Karoline Mehalchick’s
report and recommendation, which indicates that Defendant Denver Leon
Pearson appeared before her and entered a guilty plea to Count 1 of the
Indictment on October 16, 2020. The report and recommendation proposes
that, pursuant to the guilty plea, the court enter an order adjudging
Defendant Denver Leon Pearson guilty of the offense of Distribution with
Intent to Distribute a Controlled Substance pursuant to 21 U.S.C. §841(a)(1)
and 841(b)(1)(C) as alleged in Count 1 of the Indictment. No objections to
the report and recommendation have been filed, and the time for such filing
has passed. Therefore, in order to decide whether to adopt the report and
recommendation, we must determine whether a review of the record
evidences plain error or manifest injustice. See, e.g., Sullivan v. Cuyler,
723 F.2d 1077, 1085 (3d Cir. 1983); FED. R. CIV. P. 72(b) 1983 Advisory
Committee Notes (“When no timely
             Case 3:19-cr-00031-MEM Document 62 Filed 11/05/20 Page 2 of 2




objection is filed, the court need only satisfy itself that there is no clear error
on the face of the record to accept the recommendation”); 28 U.S.C.
§636(b)(1).

            After a careful review, we find neither a clear error on the face of the
record nor a manifest injustice, and therefore, we shall adopt the report and
recommendation.
            1)   The magistrate judge’s report and recommendation (Doc. 60) is
            hereby ADOPTED;
            2)   The Court accepts the defendant’s guilty plea and finds him
            guilty of Distribute and Possess with Intent to Distribute a Controlled
            Substance pursuant to 21 U.S.C.§841(a)(1) and 841(b)(1)(C) as
            alleged in Count 1 of the indictment.
            3)   Sentencing shall be scheduled upon receipt of the Presentence
            Report.



                                             s/ Malachy E. Mannion
                                             MALACHY E. MANNION
                                             United States District Judge


Date: November 5, 2020
19-031-05
